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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 CATHY A. HARRIS, in her personal capacity
 and in her official capacity as Member of the
 Merit Systems Protection Board,
                       Plaintiff,
                                                   Civil Case No. 1:25-cv-00412-RC
 v.

 SCOTT BESSENT, in his official capacity as
 Secretary of the Treasury, et al.,
                       Defendants.


                                    JOINT STATUS REPORT

       Pursuant to the Court’s order, the parties have conferred and the parties agree that the

Court’s consideration of the motion for preliminary injunction should be consolidated with the

merits of the case.

                                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on this 19th day of February, 2025, I electronically filed and served the

foregoing document on the parties listed below via the Court’s CM/ECF system:

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                                                   /s/ Jeremy D. Wright                    .


                                                  Jeremy D. Wright




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